Case 18-14258-mdc         Doc 53
                             Filed 05/27/21 Entered 05/27/21 16:04:26 Desc Main
                            Document      Page 1 of 5
                  IN THE UNITED STATES BANKRUPTCY COURT
         FOR THE EASTERN DISTRICT OF PENNSYLVANIA (PHILADELPHIA)

 IN RE:
 HUGH C POSTELL                                          Case No. 18-14258-mdc
     Debtor
                                                         Chapter 13
 PHH MORTGAGE CORPORATION
         Movant
 vs.
 HUGH C POSTELL
     Respondent                                          11 U.S.C. §362

     MOTION FOR RELIEF FROM AUTOMATIC STAY UNDER §362 PURSUANT TO
                   BANKRUPTCY PROCEDURE RULE 4001

        Movant, by its attorneys, Brock and Scott PLLC, hereby requests a termination of Automatic

Stay and leave to foreclose on its mortgage on real property owned by HUGH C POSTELL AKA

HUGH POSTELL (the “Debtor”).

        1.     Movant is PHH Mortgage Corporation.

        2.     Debtor, HUGH C POSTELL AKA HUGH POSTELL, is the owner of the premises

located at 5050 Chancellor Street, Philadelphia, Pennsylvania 19139 hereinafter known as the

mortgaged premises.

        3.     Movant is the holder of a mortgage on the mortgaged premises.

        4.     Debtor's failure to tender monthly payments in a manner consistent with the terms of the

Mortgage and Note result in a lack of adequate protection.

        5.     Movant instituted foreclosure proceedings on the mortgage because of Debtor's failure

to make the monthly payment required hereunder.

        6.     The foreclosure proceedings instituted were stayed by the filing of the instant Chapter

13 Petition.

        7.     The following chart sets forth the number and amount of post- payments due pursuant

to the terms of the Note that have been missed as of April 16, 2021:
   Case 18-14258-mdc            Doc 53   Filed 05/27/21 Entered 05/27/21 16:04:26 Desc Main
                                         Document        Page 2 of 5
 Number            From:          To:       Monthly         Monthly         Monthly           Total
of Missed                                    Missed          Missed         Payment         Amounts
Payments                                    Principal      Escrow (if       Amount           Missed
                                               and         applicable)
                                             Interest
   3             10/01/2020   12/01/2020     $450.03         $324.85         $774.88        $2,324.64
   4             01/01/2021   04/01/2021     $450.03         $295.77         $745.80        $2,983.20
                                         Less post-petition partial payments (suspense balance): ($1.18)
                                                                                       Total: $5,306.66


            8.       The next payment is due on or before May 1, 2021 in the amount of $745.80. Under the

  terms of the Note and Mortgage, Debtor has a continuing obligation to remain current post-petition and

  failure to do so results in a lack of adequate protection to Movant. The following fees and costs have

  been incurred since bankruptcy filing: Plan Review Fees in the amount of $150.00, POC Filing Fees in

  the amount of $500.00, 410A Prep Fees in the amount of $250.00 and Objection to Plan Fees in the

  amount of $500.00.

            9.       Movant, PHH       MORTGAGE         CORPORATION          requests the Court award

  reimbursement in the amount of $1,038.00 for the legal fees and costs associated with this Motion.

            10.      Movant has cause to have the Automatic Stay terminated as to permit Movant to

  complete foreclosure on its mortgage.

            11.      Movant specifically requests permission from the Honorable Court to communicate with

  and Debtor and Debtor's counsel to the extent necessary to comply with applicable nonbankruptcy law.

            12.      Movant, it's successors and assignees posits that due to Debtor's continuing failure to

  tender post-petition mortgage payments and the resulting and ever increasing lack of adequate protection

  that said failure presents, sufficient grounds exist for waiver of Rule 4001(a)(3), and that Movant, its

  successors or assignees should be allowed to immediately enforce and implement the Order granting

  relief from the automatic stay.

            13.      Movant requests that if relief is granted that Federal Rule of Bankruptcy Procedure

  3002.1 be waived.

            14.      PHH MORTGAGE CORPORATION services the underlying mortgage loan
Case 18-14258-mdc           Doc 53   Filed 05/27/21 Entered 05/27/21 16:04:26 Desc Main
                                    Document        Page 3 of 5
and note for the property referenced in this Motion for Relief and is entitled to proceed accordingly.

Should the Automatic Stay be lifted and/ or set aside by Order of this Court or if this case is dismissed

or if the debtor obtains a discharge and a foreclosure action is commenced or recommenced, said

foreclosure action will be conducted in the name of PHH MORTGAGE CORPORATION (the

noteholder). PHH MORTGAGE CORPORATION (the noteholder) has the right to foreclose because

Noteholder is the original mortgagee or beneficiary or assignee of the security instrument for the

referenced loan. Noteholder directly or through an agent has possession of the promissory note and the

promissory note is either made payable to Noteholder or has been duly endorsed.



       WHEREFORE, Movant respectfully requests that this Court enter an Order;

       a.        Modifying the Automatic Stay under Section 362 with respect to 5050 Chancellor Street,

Philadelphia, Pennsylvania 19139 (as more fully set forth in the legal description attached to the

Mortgage of record granted against the Premises), as to allow Movant, its successors and assignees, to

proceed with its rights under the terms of said Mortgage; and


       b.        Movant specifically requests permission from this Honorable Court to communicate

with Debtor and Debtor's counsel to the extent necessary to comply with applicable nonbankruptcy law;

and

       c.        Awarding Movant attorney fees and costs related to this Motion in the amount of

$1,038.00; and

       d.        Holding that due to Debtor's continuing failure to tender post-petition mortgage

payments and the resulting and ever increasing lack of adequate protection that said failure presents,

sufficient grounds exist for waiver of Rule 4001(a)(3), and that Movant, its successors or assignees,

should be allowed to immediately enforce and implement the Order granting relief from the automatic

stay; and
Case 18-14258-mdc         Doc 53   Filed 05/27/21 Entered 05/27/21 16:04:26          Desc Main
                                  Document        Page 4 of 5
      e.       Waiving Federal Rule of Bankruptcy Procedure 3002.1; and

      f.       Granting any other relief that this Court deems equitable and just.

May 26, 2021


                                              /s/ Andrew Spivack
                                              Andrew Spivack
                                              (Bar No. 84439)
                                              Attorney for Creditor
                                              BROCK & SCOTT, PLLC
                                              302 Fellowship Road, Suite 130
                                              Mount Laurel, NJ 08054
                                              Telephone: 844-856-6646 x3017
                                              Facsimile: 704-369-0760
                                              E-Mail: PABKR@brockandscott.com
Case 18-14258-mdc   Doc 53
                       Filed 05/27/21 Entered 05/27/21 16:04:26 Desc Main
                      Document      Page 5 of 5
    PHH MORTGAGE CORPORATION, SERVICES THE LOAN ON THE PROPERTY
 REFERENCED IN THIS DOCUMENT. IN THE EVENT THE AUTOMATIC STAY IN THIS
   CASE IS MODIFIED, THIS CASE DISMISSES, AND/OR THE DEBTOR OBTAINS A
DISCHARGE AND A FORECLOSURE ACTION IS COMMENCED ON THE MORTGAGED
PROPERTY, THE FORECLOSURE WILL BE CONDUCTED IN THE NAME OF CREDITOR.
    CREDITOR, DIRECTLY OR THROUGH AN AGENT, HAS POSSESSION OF THE
PROMISSORY NOTE. CREDITOR IS THE ORIGINAL MORTGAGEE OR BENEFICIARY OR
                      THE ASSIGNEE OF THE MORTGAGE.
